Case 8

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DECLARATION OF ALAN M. RITCHIE

I, Alan M. Ritchie, hereby declare under penalty of perjury that the following
statements are true and correct:

1. I am an attorney with Pilgrim Christakis LLP, counsel of record for
Defendant Powerline Funding LLC (“Powerline”).

2. Professional considerations require termination of the representation.
Undersigned counsel is limited in his ability to provide additional information due to
confidentiality considerations. See Cal. R. Prof. Conduct 1.6.

3. Pursuant to Local Rule 83-2.3.2 and 83-2.3.4, counsel provided written
notice to Powerline of its motion to withdraw and the consequences of Powerline’s
inability to appear pro se as a corporate entity.

4. Pursuant to Local Rule 7-3, counsel conferred with counsel for Plaintiff
Mariano Benitez (“Plaintiff”) prior to filing the motion, and Plaintiff does not
oppose the motion.

Executed on June 21, 2019 in Chicago, Illinois,

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Alan M. Ritchie

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NOTICE OF MOTION AND MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR DEFENDANT

 

 

 

POWERLINE FUNDING LLC; MEMORANDUM OF POINTS AND AUTHORITIES

 
